       Case 2:21-cv-02397-SM-DMD Document 18 Filed 08/25/22 Page 1 of 2




DOUGLAS, M.J.
AUGUST 25, 2022

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

JANE DOE                                                                    CIVIL ACTION

VERSUS                                                                      NO. 21-2397

PHILIP T. SOBASH                                                            SECTION: “E” (3)



       A settlement conference in the above captioned matter is hereby SCHEDULED for

Thursday, February 2, 2023, at 9:00 a.m. before United States Magistrate Judge Dana M.

Douglas, Room B347, Hale Boggs Building, 500 Poydras Street, New Orleans, Louisiana.

       Participation of parties is likely to increase the efficiency and effectiveness of the

settlement conference. Therefore, only if a party is unable to attend in person, such party shall

be available by telephone for the duration of the settlement conference.

       Each party shall provide, in confidence, a concise settlement memorandum, which shall

include a brief description of (1) any liability disputes, (2) the key evidence the party expects to

produce at trial, (3) the damages at issue in the case, (4) the party’s settlement position and (5)

any other special issues that may have a material bearing upon settlement discussions (e.g.,

outstanding liens, particularly contentious litigation history, related litigation in another forum,

etc.). Also, please keep in mind that the memorandum is confidential, will not be exchanged, is

not binding, and that posturing is inappropriate and only serves to handicap the process. The

memorandum shall be submitted three (3) working days prior to the conference and shall be

no longer than three (3) pages double spaced. The memorandum shall be emailed directly to:
      Case 2:21-cv-02397-SM-DMD Document 18 Filed 08/25/22 Page 2 of 2




efile-douglas@laed.uscourts.gov. The email subject line should read: "Settlement Position

Paper for [case number] on [date of conference].”

       Prior to the conference, the Plaintiff(s) is/are to have made a settlement proposal. The

Defendant(s) is/are to have responded to that demand and are to have informed the Court of

that response.

       It is the duty of the parties to notify the undersigned if trial is continued, settled or

otherwise disposed of prior to the date of the scheduled settlement conference, so that the

matter may be removed from the Court’s docket.

       New Orleans, Louisiana, this 25th day of August 2022.



                                            ___________________________________
                                            DANA M. DOUGLAS
                                            UNITED STATES MAGISTRATE JUDGE
